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                   EXHIBIT 1
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                                            United States District Court
                                                   SOUTHERN DISTRICT OF NEW YORK


                             12, 1850
JUDGMENT NO.                                                                                                     DOCKET NO. 03-cv-984S(GBD)(SN)
                                                                                                                            03-md-1570(GBD)(SN)

        THE PRESIDENT OF THE UNITED STATES OF AMERICA
To the Marshal ofthe Southern District ofNew York, GREETING:

           YOU ARE COMMANDED, that of the goods and chattels of The Islamic Republic of Afghanistan, now know as the Islamic
            Emirate of Afghanistan, which the Taliban, Da Afghanistan Bank, the central to bank of Afghanistan, now a bank of the Islamic Emirate of
 Afghanistan, which is the Taliban, and any political subdivisions or agencies and instrumentalities of either the Islamic Republic of Afghanistan or the

 Islamic Emirate of Afghanistan, which is the Taliban.



in your district you cause to be made the sum of seven billion, forty-five million, six hundred thirty-two thousand, four hundred two


                                                                                dollars and seventy-nine                       cents, (S7-°^S,632,402.79

which lately in the United States District Court of the United States for the Southern District ofNew York, in the Second

Circuit,     Fiona Havlish and the individuals and estates listed on Exhibit A attached hereto


recovered against the said The Taliban a/k/a the Islamic Emirate of Afghanistan and the other entities and individuals listed on Exhibit B attached hereto




in an action between Fiona Havllsh and the individuals and estates listed on Exhibit A attached hereto




PLAINTIFF and The Taliban a/k/a the Islamic Emirate of Afghanistan and the other entities and individuals listed on Exhibit B attached hereto




DEFENDANT, in favor of said Fiona Havlish and the individuals and estates listed on Exhibit A attached hereto




                                                                                                                          16                                day
as appears by the record filed in the Clerk's Office of said District Court on the.
             October
of                                                                    , in the year of           ______

and if sufficient personal property of the said judgment debtor cannot be found in your District, that then you cause the
same to be made out of the real property belonging to such judgment debtor on the above-mentioned day, or at any time
thereafter, in whose hands soever the same may be, and return this execution within sixty days after its receipt by you, to
the Clerk of said District Court.

         WITNESS, the Honorable Laura T. Swain, Chief Ju^e of the United States District Court, for the Southern
District ofNew York, at the City ofNew York, on th^ ,31^ day of                                    _      in the
year of our Lord______ 1___________, and of the Independence of the United States the two hundred TX'
                     y'ear.



                                                                                                                         (X^K
SONY Web

05/2021
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                                                                             United States District Court
                                                                                SOUTHERN DISTRICT OF NEW YORK
                                                                                              Fiona Havlish, et al

                                                                                                   -against-

Thc Taliban a/ka Islamic Emirate of Afghanistan, which is now the government of Afghanistan; the government of Afghanistan, which is now the Islamic Emirate of Afghanistan, the central bank of Afghanistan,

which is now a bank of the Islamic Emirate of Afghanistan; any political subdivision of the government of Afghanistan, which is now the Islamic Emirate of Afghanistan, and any agency or instrumentality of the

                                     the government of Afghanistan, which are now agencies and instrumentatlifics of the Islamic Emirate of Afghanistan a/k/a the Taliban
                                                                                  EXECUTION AGAINST PROPERTY

                                                                               Wiggins Childs Pantazis Fisher Goldfarb, PLLC
                                                                              ---------------------------------------------
                                                                                            Fiona Havlish, et al

                                                                                          Borough of Manhattan
                                                                                            City of New York



                                                                          To the Marshal:

                                                                         You will levy and collect

                                                                                         $7,045,632,402.79




                                                                         Dollars and 85

                                                                               cents, with interest from the 16 day of

                                                                         October, 2012, besides your fees, et^




                                                                                                                       Attorney
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                                       EXHIBIT A
                                   WRIT OF EXECUTION

Estate of Donald J. Havlish, Jr.               {Estates of 9/11 Decedents in bold}
Fiona Havlish
Estate of Donald Havlish, Sr.
William Havlish
Susan Conklin
Estate of Michael A. Bane
Tara Bane
Estate of Donald Bane
Christina Bane-Hayes
Estate of Martin Boryczewski
Krystyna Boryczewski
Estate of Michael Boryczewski
Julia Boryczewski
Michele Boryczewski
Estate of Richard M. Caproni
Richard A. Caproni
Dolores Caproni
Christopher Caproni
Michael Caproni
Eisa Caproni-Brown
Estate of Peter Chirchirillo
Clara Chirchirillo
Eivia Chirchirillo
Catherine Deblieck
Estate of Jeffrey Coale
William Coale
Estate of Daniel M. Coffey
Frances M. Coffey
Daniel D. Coffey, M.D.
Kevin M. Coffey
Estate of Jason Coffey
Frances M. Coffey
Daniel D. Coffey, M.D.
Kevin M. Coffey
Estate of Jeffrey Collman
Dwayne W. Collman
Brian Collman
Charles Collman
Brenda Sorenson
Estate of Michael Diehl
Eoisanne Diehl
Estate of Stephen Dorf
Estate of Morris Dorf
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Estate of Anne Marie Dorf
Joseph Dorf
Michelle Dorf
Robert Dorf
Linda Sammut
Estate of Judy Fernandez
Corazon Fernandez
Estate of William R. Godshalk
Estate of Grace Parkinson-Godshalk
Estate of John Grazioso
Tina Grazioso
Estate of James D. Halvorson
Maureen Elalvorson
Estate of Liming Gu
Jin Liu
Alan Gu
Estate of Steven Cafiero
Grace Kneski
Estate of Robert Levine
Roni Levine
Estate of Joseph Lostrangio
Teresanne Lostrangio
Estate of Brian Nunez
JoAnne Lovett
Estate of Meta Waller
Estate of Ronald Gamboa
Regina Maria Merwin
Estate of Dorothy Mauro
Margaret Mauro
Estate of Mary Melendez
Ramon Melendez
Estate of Peter T. Milano
Patricia Milano
Estate of Yvette Nichole Moreno
Ivy Moreno
Estate of Philip Paul Ognibene
Estate of Vincent A. Ognibene
Estate of Denis Lavelle
Marie Ann Paprocki
Estate of John William Perry
Patricia J. Perry
Estate of Salvatore T. Papasso
Christine Papasso
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Estate of Marsa Dianah Ratchford
Rodney Ratchford
Rodney M. Ratchford
Marshee R. Ratchford
Benefit of Maranda C. Ratchford
Estate of John M. Kodak
Joyce Ann Rodak
Chelsea Nicole Rodak
Benefit of Devon Marie Rodak
John Rodak
Regina Rodak
Joanne Gori
Estate of Elvin Romero
Diane Romero
Estate of Richard Rosenthal
Loren Rosenthal
Estate of Joshua Scott Reiss
Judith Reiss
Estate of Maria Theresa Santillian
Expedite Santillian
Ester Santillian
Estate of Victor Saracini
Ellen Saracini
Estate of Anne C. Saracini
Joanne Renzi
Estate of Scott Schertzer
Paul Schertzer
Estate of Paul K. Sloan
Ronald S. Sloan
Estate of George Eric Smith
Raymond Alexander Smith
Estate of Timothy P. Soulas
Katherine Soulas
Estate of William R. Steiner
Russa Steiner
Estate of Andrew Stergiopoulos
George Stergiopoulos, M.D.
Angela Stergiopoulos
Estate of Edward W. Straub
Sandra Straub
Estate of Jennifer Tino
Joan E. Tino
Pamela Schiele
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Estate of Jeanmarie Wallendorf
Christine Barton (now Pence)
Estate of Timothy Raymond Ward
Estate of Doyle Raymond Ward
Gerald Bingham
Alice Carpeneto
Stephen L. Cartledge
Michelle Wright
Maureen Halvorson
Haomin Jian
FuMei Chien
Huichun Jian
Hui-Chuan Jian
Hui-Chien Chen
Hui-Zon Jian
Michael LoGuidice
Ralph S. Maerz
Martin Panik
Estate of Einda Ellen Panik
Mary Eynn-Anna Panik Stanley
Helen Rosenthal
Alexander Rowe
Ed Russin
Gloria Russin
Barry Russin
Leonard Zeplin
Leona Zeplin
Joslin Zeplin
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                                    EXHIBIT B
                                WRIT OF EXECUTION

       LIST OF DEFENDANTS AGAINST WHOM JUDGMENTS WERE ENTERED


The Taliban a/k/a the Islamic Emirate of Afghanistan
Islamic Republic of Iran
Ayatollah Ali Hoseini Khamenei, Supreme Leader of Iran
Ali Akbar Hashemi Rafsanjani, Chairman, Expediency Discernment Counsel
    and former President of Iran
Iranian’s Ministry of Information and Security
Islamic Revolutionary Guard Corps
Iranian’s Ministry of Petroleum
National Iranian Tanker Corporation
National Iranian Oil Company
National Iranian Gas Company
National Iranian Petrochemical Company
Iran Airlines
Iran’s Ministry of Economic Affairs and Finance
Iran’s Ministry of Commerce
Iran’s Ministry of Defense and Armed Forces Logistics
Central Bank of the Islamic Republic of Iran a/k/a Bank Markazi
Hezbollah
al-Qaeda
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             Exhibit C
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                                     EXHIBIT C
                              WRIT OF EXECUTION
       The foregoing writ of execution is to be levied in conformity with United
States and New York law against any property or property rights in any form
(personal or real, tangible or intangible, materialized or dematerialized, direct or
indirect, or fungible, including but not limited to any reserves, cash, gold, silver,
securities, securities entitlements, securities accounts, equity interests, claims,
contractual rights, statutory rights, special drawing rights from the International
Monetary Fund, or any other interest of any kind in any asset of any kind) held or
being maintained by, or in the possession, custody, or control of.
      Federal Reserve Bank of New York
      33 Liberty Street
      New York, New York 10045

for the benefit of the government of Afghanistan (which the Taliban, also known
as the Islamic Emirate of Afghanistan, now claims to be and to control). Da
Afghanistan Bank, the central bank of Afghanistan (which is a bank, the assets of
which, the Taliban, also known as the Islamic Emirate of Afghanistan, now claims
to own and control), any political subdivision of the Islamic Republic of
Afghanistan or the Islamic Emirate of Afghanistan (which the Taliban, also known
as the Islamic Emirate of Afghanistan, now claims are its political subdivisions),
and any agency or instrumentality of the Islamic Republic of Afghanistan or the
Islamic Emirate of Afghanistan (which the Taliban, also known as the Islamic
Emirate of Afghanistan, now claims are its agencies and instrumentalities).

Beginning on or about August 16, 2021, the previous government of Afghanistan
was deposed by the Taliban, which also identifies itself as the Islamic Emirate of
Afghanistan. On or about August 19, 2021, the Taliban declared itself the
government of Afghanistan and changed the name of the country to the Islamic
Emirate of Afghanistan, which is also the name of the Taliban. The Taliban as the
Islamic Emirate of Afghanistan now asserts control over the country formerly
known as Afghanistan, previously governed by the Islamic Republic of
Afghanistan, and has assumed governance of the people within the jurisdictional
borders of Afghanistan. The Taliban, as the Islamic Emirate of Afghanistan, also
claims ownership of, and control over, all property, property interests, and all
rights belonging to the former government of the Islamic Republic of Afghanistan,
including all assets belonging to the central bank of Afghanistan, Da Afghanistan
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Bank. As a result, the judgment entered against the Taliban which is now the
Islamic Emirate of Afghanistan can now be enforced against any and all assets
belonging to the government of Afghanistan, including any assets held at the
Federal Reserve Bank in the name, for the benefit, or on the account of Da
Afghanistan Bank, the central bank of Afghanistan.
